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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                PECOS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §      NO: PE:25-CR-00047(1)-DC
                                                §
(1) ULISES DANIEL MAGANA-SOTO                   §

              ORDER ADOPTING MAGISTRATE JUDGE'S FINDINGS
          OF FACT AND RECOMMENDATION ON FELONY GUILTY PLEA
               REGARDING COUNT ONE OF THE INFORMATION

       On this day, the Court considered the Findings of Fact and Recommendation of the

United States Magistrate Judge regarding Defendant's plea of guilty to Count ONE of the

INFORMATION in the above-numbered cause. Having conducted a proceeding in the form and

manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court

accept the guilty plea of the Defendant.

       No objections have been filed to the Magistrate's Findings and Recommendation within

the time period set by law, and neither party has requested a de novo review of the plea

proceedings before the Magistrate. If a de novo review becomes necessary at any point during

the pendency of the cause, the Court reserves the right to conduct it. Based on the current record

before the Court, since it appears that the Findings and Recommendation are neither clearly

erroneous nor contrary to law, the Court is of the opinion that said Findings and

Recommendation should be adopted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge filed March 5, 2025, are hereby ADOPTED.
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         It is further ORDERED that the Defendant's guilty plea is accepted and approved by the

Court.

         It is finally ORDERED that the Court finds Defendant GUILTY on Count ONE of the

INFORMATION in the above-numbered cause and enters a JUDGMENT OF GUILTY against

the Defendant as to Count ONE.

             SIGNED this 20th day of March, 2025.



                                                   ______________________________
                                                   DAVID COUNTS
                                                   UNITED STATES DISTRICT JUDGE
